     Case 1:20-cr-00183-RJJ ECF No. 274, PageID.1598 Filed 08/18/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                Plaintiff,

                                                              CASE NO.: 1:20-CR-183-3

v.
                                                              HON. ROBERT J. JONKER
TY GERARD GARBIN,

                Defendant.


              DEFENDANT TY GARBIN MOTION FOR A VARIANCE UNDER 18 USC 3553


         For the reasons discussed more fully in Mr. Garbin's Brief in Support of this Motion for a

Variance Under 18 USC 3553, Mr. Garbin respectfully requests that the Court grant a downward

variance for the following reasons:

         1.     Mr. Garbin has demonstrated extraordinary acceptance of responsibility for his
                actions, viz., immediately cooperating with the government at the time of his arrest,
                pleading guilty relatively soon after arrest, and being the first and only defendant
                to plead guilty and cooperate with the government thus far.

         2.     Mr. Garbin, a man of slight build, will be particularly vulnerable to physical assault
                or even death in prison due to his cooperation in this case;

         3.     Prior to this case, Mr. Garbin had a completely clean criminal history;

         4.     Mr. Garbin overcame years of physical and verbal abuse at the hands of his
                biological father to become a certified aviation mechanic at a young age, worked
                full-time, earned good money, and used his talents and skills for a positive purpose;

         5.     Mr. Garbin was particularly vulnerable to becoming involved in extremism because
                of the very same abuse he experienced from his biological father (see Attachment
                A - Sentencing Mitigation Video (Video), Attachment B - Dr. Atara Abramsky's
                Psychological Evaluation (Dr. Abramsky's Report), Attachment C - Parents for
                Peace Report); and,
 Case 1:20-cr-00183-RJJ ECF No. 274, PageID.1599 Filed 08/18/21 Page 2 of 2




      6.     Mr. Garbin has already engaged in and is committed to completing deradicalization
             treatment with Parents for Peace and eager to help deradicalize others involved in
             extremism at the conclusion of this case (see Video and Parents for Peace Report).


                                          Respectfully submitted,


Dated: 08/18/2020                         /s/ Gary K. Springstead
                                          Gary K. Springstead (P59726)
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